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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF lLLINOIS

EASTERN DIVISION
BODYGUARD PRODUCTIONS, INC., )
)
Plaintiff, ) Case No.: 1 8-cV-03 60
)
v. )
) Judge Elaine E. Bucklo
STEFAN IVANOV and )
MARYBETH BONADONNA, )
)
Defendants. )

PLAINTlFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE OF
DEFENDANTS STEFAN IVANOV AND MARYBETH BONADONNA

Plaintift`, Bodyguard Productions, lnc., pursuant to Rule 41 (a)(l) of the Federal Rules of
Civil Procedure, hereby dismisses without prejudice all causes of action in the complaint against
Defendants Stefan Ivanov, Internet Protocol address 73.22.146.74 (forrnerly Doe No. l'/') and
Marybeth Bonadonna, Internet Protocol address 73.9.226.5 (formerfy Doe No. 12). Each party shall
bear its own attorney`s fees and costs.

The respective Defendants have not filed an answer to the complaint or a motion for

summary judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule

4l(a)(l) is appropriate
Consistent herewith, Plaintiff consents to the Court closing this case for administrative
purposes
Respectfully submitted,
Dated: September l 11 2018 BODYGUARD PRODUCTIONS, INC.

 

By; s/Michael A. Hierl _
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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Notice of Voluntary Disrnissal Without Prejudice of Defendants Stefan Ivanov and Marybeth
Bonadonna Was filed electronically With the Clerl< of the Court and served on all counsel of
record and interested parties via the CM/ECF system on September l l, 2018.

s/Michael A. Hierl

 

